
PER CURIAM.
The Court of Appeal, Third District, without opinion denied Bennett’s petition for certiorari. Bennett v. Fratus, Fla.App., 168 So.2d 792, Case No. 2.
In view of our decision in Crews v. Dobson, Fla., 177 So.2d 202, opinion filed July 7, 1965, and our decision in Bennett v. Fratus, Fla., 177 So.2d 334, opinion filed 21st of July, 1965, jurisdiction of this cause is returned to the District Court for further consideration of its order herein in the light of the foregoing decisions. See also Florida East Coast Railway Company v. Lewis, Fla.App., 167 So.2d 104, certiorari denied, Fla., 177 So.2d 334, 21st day of July, 1965. We have adopted this procedure pursuant to our decision m Dean v. Deas, Fla., 116 So.2d 23.
■ It is so ordered.
THORNAL, C. J., and THOMAS, ROBERTS, DREW and O’CONNELL, JJ., concur.
